SUPPLEMENT 4

For Federa| criminal/civil case filing
-- PET|T|ONER’S MOT|ON FOR REQUEST|NG
PSYCHOLOG|CALIPS¥CH|ATR|C EVALUATION
TO DETERM|NE ACTUAL lNNOCENCE FACTOR
UNDER FALSE CONFESS|ON ELEMENT AND
TO RESOLVE THE CONTROVERSYICONFL|CT
BETWEEN GOVERNMENT AND PET|T|ONER
OVER “DELUS|ONAL D|SORDER” -

Brian David Hi|| (Petitioner) v. United States of
America (Respondent)

Criminal Case Number 1:13-cr-435-1
Civil Case Number 1:17-CV-1036

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USWGO Alternative News (USWGO.COM, DEFUNCT)
WE ARE CHANGE (WEARECHANGE.ORG)
INFOWARS.COM (THERE IS A WAR ON FOR YOUR MIND)

Oath Keepers (oathkeepers.org) `
Federal]ack (Federal]ack.com)
Alternative Media/Truth Movement brigade

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In the United States District Court
For the Middle District of North Carolina

Brian David Hill
Petitioner,

v Criminal Action No. 1:13-CR-431-1

United States Of America Civil Action No. 1:17-CV-1036

Respondent.

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Declaration of Brian David Hill in Suppol‘t of “PETITIONER’S MOTION
FOR REQUESTING PSYCHOLOGICAL/PSYCHIATRIC EVALUATION
TO DETERMINE ACTUAL lNNOCENCE FACTOR UNDER FALSE
CONFESSION ELEMENT AND TO RESOLVE THE
CONTROVERSY/CONFLICT BETWEEN GOVERNMENT AND
PETITIONER OVER “DELUSIONAL DISORDER””

Declaration authorized by Title 28 U.S.C. § 1746

I, Brian David Hill, declare pursuant to Title 28 U.S.C. § 1746 and subject to the
penalties of perjury, that the following is true and correct:

1. I am the Petitioner in the criminal case United States of America v. Brian David
Hill, criminal case no. l:l3-cr-435-1 and civil case no. l:17-CV-1036, U.S.
District Court for the Middle District of North Carolina, and the criminal case Was
filed at the time While prosecuted under the authority of U.S. Attorney Ripley
Rand in 2013, as now he is no longer employed by the U.S. Attorney Oft`ice after
the election victory of Donald John Trurnp for the Office of the President of the

United States. Prosecution Was filed and represented by Anand Prakash

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Ramaswamy, the Assistant of the United States Attorney Office for the Middle
District ofNorth Carolina.

. I have a very good reason why the U.S. District Court needs to consider a new
mental examination/evaluation for What l believe to be a major controversy and
good cause over my entire criminal case including my civil § 225 5 case. The

maj or controversy that l believe exists is what I feel is a wrongful diagnosis of
“Delusional Disorder: Persecutory Type”. l Will explain herein why I believe such
diagnosis should be removed from my record if after being ruled out by the next
evaluator and should be considered unfounded if that is the case. When I had
originally filed a pro se motion to strike the diagnosis of delusional disorder under
Document #80 and all attachments, l didn’t understand that I cannot just ask the
Court to strike or consider throwing out what I believe to be an improper mental
examination diagnosis without another mental examination to rule out that older
diagnosis l didn’t understand that l had to wait until I had filed a proper § 2255
Motion that l can then request another mental examination which would be legally
authorized by statute and F ederal Rule to finally fight to remove what I believe
Was an invalid diagnosis and still believe it till this day. l still do not recognize the
wrongful diagnosis of “delusional disorder” and I disagree with the corrupt
Assistant U.S. Attorney Anand Prakash Ramaswamy. The reason I call
Ramaswamy corrupt or crooked is because he let his key witness Kristy L. Burton
commit perjury at the Supervised Release Revocation Hearing despite my written

Declarations Warning the Court (Ramaswamy would have read those filings via

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Notl`ce of Electronic Fc'ling (“NEF”)) that Kristy Burton was already lying in what
she said Which her Words got into the Petition for Warrant or Summons for
Offender Under Supervision under Document #88. Knowing that a witness to
testify at any proceeding may have already lied Which her false statements were
placed under Oath by her Supervising Probation Officer is subornation of perjury
and is a felony act, since making false statements in one document under Oath
usually can be repeated under Oath at a physical court hearing Of course Kristy
Burton had made multiple false statements on June 30, 2015, after being warned
prior that she had already lied about the situation in a Petition document that is
declared under penalty of perjury by the Supervisory U.S. Probation Officer. I
believe Ramaswamy has committed a felony and it isn’t harassing the Government
to accuse them of a crime under good faith and good reason, When there is decent
amount of evidence that would be enough to even warrant a Duty FBI Agent to
require that statements are given for the evidence of such crime of perjury by
making false statements Anyways this Declaration is for a different reason but I
wanted to clarify Whyl call Ramaswamy corrupt or crooked. Because l believe he
is breaking federal law and violating attorney ethics by not disclosing discovery
material which proves my innocence.

. l will explain to the court in as much details as I can as to why l still believe that
the diagnosis of “delusional disorder” is unfounded and should be reversed by the
Court ordering me a new mental examination/evaluation by the controversy

caused by such diagnosis l and my family remember former legal counsel Eric

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David Placke said at one point in my case that I was delusional and brought that
up and we all thought that he Was acting more like a prosecuting attorney.
Anyways that diagnosis Was implied improperly. When corrupt Assistant U.S.
Attorney Ramaswamy is criticizing me for bringing up the diagnosis of
“delusional disorder” not under seal, Kristy L. Burton had done the same thing of
bringing up that diagnosis which was embarrassing to me, not under seal under
Document #87, so that gives me the right to publicly criticize this improper and
what I believe to be an invalid diagnosis and the reasons l believe it is improper
To accuse me of not filing the criticizing of such diagnosis under seal, Kristy L.
Burton has embarrassed me by publicizing that Wrongful diagnosis not under seal,
thus she has done the very thing that AUSA Rarnaswamy accuses me of. Kmisty
Burton said from that public filing that “From review ofhz`s history, substance
abuse has not been an issue for Mr. Hill in the past He suffers from a number of

mental health issues including Autism Delusional Disorder,. . .” So if AUSA

 

Ramaswamy acts as though I have no legal right in court record to criticize that
diagnosis on public record, then Kristy Burton has no right to publicize that
diagnosis either, or if she has the right to publicly state that I am delusional then l
have every right to file public filings criticizing such wrongful diagnosis lt can’t
be a double standard, there arc no double standard laws. At least there shouldn’t be
in my opinion.

. When Dr. Keith Hersh, the psycho-sexual evaluator diagnosed me with

“Delusional Disorder: Persecutory Type” he didn’t know that there was proof in

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the Government’s own discovery evidence material which shows evidence of false
confession. The reason why is because l never got to read over all of the discovery
materials and never got to cross examine the Government’s own discovery
materials prior to my false plea of guilty on June 10, 2014. lt was only until afterl
had initially requested a copy of the Mayodan Police Report concerning myself
from the Town Clerk in December, 2014 that l started to get written statements of
a portion of what all was said on August 29, 2012 during the
interview/interrogation which involves my confession to the crime of possession
of child pornography Then later on around January 22, 2015, l finally had got to
review over my entire criminal case discovery packet of evidence, the very
discovery packet of evidence that Eric David Placke should have allowed me to
review over entirely prior to badgering me to take that guilty plea. Placke deprived
me of my discovery rights under Brady v. Maryland and Giglio v. United States in
my criminal case for not letting me review over entirely and cross examine the
papers to determine if 1 could have had a criminal defense at trial. 1 completely
had good cause for filing the denied pro se motions to suppress the confession
(Document #15) and suppress the evidence (Document #16) if l had been able to
review over the entire discovery packet of evidence prior to filing such motions.
Placke knew that too, he lied when he said that I and he would go over the
discovery together because he was supposed to review over the entire discovery
material with me prior to filing of pre-trial motions or even at least before the jury

trial. The confession would have been challenged and highly likely would have

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been suppressed as evidence at trial, this would have made the Government more
likely to give me pre~trial diversion where l wouldn’t have to register as a sex
offender and thus l wouldn’t have fought till this day to prove my innocence, l
would have let the Government tarnished my reputation as long as l didn’t have to
be convicted as a felon under pre-trial diversion and the Feds would have
destroyed USWGO Alternative News which l would have been fine with as l can
move on with my life not criticizing the Government. Maybe the Government
would have considered dismissing the case at that interval, who knows. Still, l
would have had a better position in my criminal case had Mr. Placke shown me all
of the discovery material and had given me a lot of time to cross examine the
Government’s own discovery material for my criminal case. Maybe pre-trial
diversion wouldn’t have been needed as l would have fought to have been found
not guilty thus the Government would have either dismissed the case or given
lenient pre-trial diversion to stop their weak or fraudulent case from going to trial.
. When Dr. Keith l-Iersh (“Dr. Hersh”) had initially started evaluating me as for the
psycho-sexual mental examination, l was ignorant in what evidence the
Government had entirely against me and thus because l believe l was innocent of
the charge and that l was framed, all l could tell Dr. Hersh was what l believe was
going on at the time. l had access to limited or no proof to physically show him
which would have made him feel that l had good evidence and reasons to make
such claims which course did landed me in the diagnosis of “delusional disorder”.

l\/ly Type l diabetes is brittle and the Jail medical staff did a terrible job taking
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care of my blood sugars as l had outlined in Exhibit 2 of Document #13 l, Pages 3
through 21. lt even got the point where the U.S. Marshals had to transport me to
Moses Cone Hospital in Greensboro, NC which had canceled my sentencing
hearing in front of the Honorable U.S. District Court Judge William Lindsey
Osteen Junior due to such medical emergency That right there proves to this
Court that my blood sugars were not being properly taken care of while l was in
incarceration So my mind wasn’t working as good as it would have been in the
outside world where l had better control of my diabetes as l can do my own insulin
shots outside of imprisonment Second thing is that l had no absolute proof of
anything at my fingertips, no access to any computer, no access to my documented
proof, and l had ineffective counsel so severe that all he cared about was making
me take that guilty plea and sticking with it till the very end. When Dr. Hersh had
interviewed me, and 1 told him the very things that led me to being labeled as
delusional, of course it would sound delusional on its face when no evidence is
presented physically for him to review. l was in jail, under 23-hour lockdown,
with random shakedowns by the jail guards. Because of that l kept mailing legal
documents and copies of documents back horne out of fear that they would be
snatched in the next jail shakedown where they search my cell and seize any
papers or things including sugar packets while the guards at Orange County Jail
had denied me glucose at the Orange County Jail in Hillsborough, NC. One time
the Jail guards at Guilford County Jail in Greensboro, NC had seized a paper

important to me and l got angry, had a meltdown, and started screaming over and

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over and they threatened me to shut up over it. At one time l had threatened to sue
the jail guards and some did threaten me with one jail guard saying “I wz'llflash
you down the toilet” at Guilford County Detention Center. Some jail guards were
very nasty to me and made me feel in total fear at times. That was why l had
continued mailing home legal papers to my family because of fear that l would
lose any evidence papers during the next shakedown then l would throw an
autistic meltdown over that then the jail guards would have an excuse to torture
me and tie me up in a chair while they make the evidence disappear in the trash or
rip my clothes off then throw me in a rubber room while they destroy the papers
needed for my case. Because of the fear l didn’t keep all of my legal papers for my
criminal case while detained thus l had no substantial supporting evidence to
present to Dr. Hersh during the evaluation/examination which would have given
him good enough reason to accept my claims and suspicions at face value without
diagnosing me with delusional disorder. l had evidence that Phil Berger Junior
was the District Attorney at the time the child pornography investigation had
begun, l was aware of the word District Attorney or Prosecutor when the police
detectives had interviewed me that day and told me that term afterl had falsely
confessed and became convinced that l was guilty to the extent where l had asked
for help for an addiction that 1 did not have. lt was weeks or month or at some
point after my false confession that l had started realizing that l wasn’t guilty and
reverted back to my not-guilty innocence stance. l had looked up the District

Attorney (“DA”) for Rockingham County in 2012 after the interview/interrogation

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and discovered that it was Phil Berger Jr. the son of the State Senator Phil Berger
Senior (“Berger Sr.”) and the lawyer for the Town of Mayodan. That was the same
guy l was writing articles on USWGO Alternative News calling him a traitor,
corrupt or crooked, whatever. l was writing online articles against Berger Sr. and
of course the son who was DA at the time of the child pornography investigation
will of course make me feel scared. l knew somebody or a group of people had
framed me with child pornography after the police showed up a month after my
Laptop was backed into which l had noticed odd programs running in the Task
Manager including emule.exe, Ares.exe, and Shareaza.exe. Then when l was
seeing evidence of Phil Berger connections into my child pornography case, of
course l would suspect Phil Berger of being involved or possibly the idea that he
may be a perpetrator. Then of course with the way Charles Caruso was threatening
me to fess up or else my mother would be held responsible, l would suspect that
he was the one or one of the people that participated in framing me with child
pornography Even if they are not guilty and did not set me up, it is easy to suspect
it with the connections and the circumstances which are odd at face value when
experiencing such odd things When YOU ARE lNNOCENT, and police knock on
your door accusing you of a crime that you didn’t commit and your computer was
backed into and you have no prior criminal record, of course you are going to
suspect the police or a computer hacker or both as one of the possible set up
perpetuators. My views on that have increased after reviewing over the discovery

evidence at Attorney John Scott Coalter’s office on January 22, 2015. l saw that

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454 files had been downloading with the eMule program between the dates of July
20, 2012, and July 28, 2013. Eleven (l 1) months of that download time was in law
enforcement custody That of course would really make me believe that law
enforcement framed me with child pornography and exonerate my claims,
especially my claims made to Dr. Hersh. Of course Dr. Hersh never saw any of
that because nobody pointed any of this stuff out to him. 1 believe Mr. Placke
knew or was super ignorant that if the contradictions were pointed out during the
psycho-sexual evaluation his view of me being not guilty would be apparent in his
mental evaluation which would have jeopardized and destroyed my guilty plea
without even me having to resort to filing a motion to withdraw my plea. lt would
have made the Government look fraudulent and appear to have perpetuated a fraud
on the court just for pressing a false confession to appearing genuine and
voluntary My confession claim of download child pom for “A. about a year or so”
to the Detective’s question would be ruled as a false statement of guilt. Dr. Hersh
would have also noticed if he had scrutinized the discovery evidence, that my
claim of the ages “A. 12 to 13 year olds” was also contradictory However 13 year
olds were not mentioned in even the alleged keywords inside of the State Bureau
of lnvestigation case file forensic report (Document #'71-6, Pages 7 through l 1).
There was a mention of 12 year olds but then ll years old, 10 years old, toddlers,
and 6 years old. That doesn’t match my confession statement The Court should
think that it would be important for a genuine confession to at least match the

forensic report claims False confessions usually do not match the police forensic

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reports Another keyword they listed is “purenudism password” which is not even
a child pornography search keyword, when l had somebody researched what
“purenudism” was, it was just a nudist website. That is not even a designated child
pornography website even from the word “nudism”. Then it mentions rapture lio,
and somebody 1 had research that term brought up that it was a song sang by a
music artist and is not a child pornography term. lt mentions about toddlers which
of course does not match my confession statement Then it mentions how “ASUS
Eee PC Laptop, Serial # 9COAAS 155554. . .Seagate HD 250GB” has “No images
of interest were noted” and “No videos of interest were noted.” So they won’t
even allege that even suspected files of interest that may or may not even be child
pornography was even on the netbook. So my Netbook was clean when l told the
Detectives that it was on my Netbook. Right on the Police Report is stated in their
question that “Q. ls there any other child pornography on any other computers?”
and my answer was “Yes. l have a Netbook at horne that you didn't get.” Of course
the netbook has no “files of interest” aka no “irnages of interest” and no “videos of
interest”. lf Dr. Hersh had done a more thorough job at reviewing over the
discovery evidence, if he even did at all, he would have noticed the download
dates, and he would have noticed rny confession statements not matching the
forensic report. My confession is very weak if it can even hold up to a cross
examination, right from cross examining the Government’s own discovery
evidence material. The fact that I told the Detectives to their first question of “did

you download child pornography” and l told them “No” and spoke with them

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about a “Trojan Horse” and it being placed in the “recycle bin”, then after the
Detective telling me the claim that he or they found child pornography on my
computer that l changed my answer to what they had Wanted to hear. Just like
what had happened to Michael Crowe in the U.S. Court of Appeals case in the
Ninth Circuit concerning a lawsuit against the police that coerced Michael Crowe
to give a false confession. l gave a false confession just like the situation of
Michael Crowe when he was interrogated l think that Dr. Hersh was ignorant in
the discovery evidence1 ignorant in forensic evidence, and didn’t recognize my
false confession because Mr. Placke never pointed it out to him to verify The fact
that I printed out PDF files, aka the Facebook pages of Detective Robert Bridge
and Melanie Bridge in 2013 proving that Detective Robert Bridge’s sister Melanie
Bridge was Assistant DA for DA Phil Berger .lr. which he endorsed her candidacy
for DA office of Rockingham County in 2014, l think that year is correct, while he
attempted to run for candidacy for the U.S. Congress for the republican party He
lost to U.S. Congressman Mark Walker. My family did research and discovered in
2018 that Anand Prakash Ramaswamy was a registered republican, therefore 1
wonder if he is fan of Phil Berger (Republican) or has some kind of bias or
conflict of interest in my case the way he attacks my claims as if they don’t hold
merit when they do hold merit. l am learning more and more of the truth, and the
evidence steers me more and more to the belief that l was framed with child porn
and was wrongnilly convicted. l want answers and 1 am tired of being blocked

from the whole truth by the U.S. Attorney and the Government. They don’t want

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me to prove my innocence. All of the ties whether direct or indirect to Phil Berger
Jr. is at least a good reason to suspect bias and/or conflict of interest lt would be
an issue of ethics but how would that matter when Phil Berger Senior is the
President Pro Tempore of the North Carolina Senate. He appoints, l believe, two
members to the Ethics Commission in North Carolina. So that means any ethics
complaints against Phil Berger or any members of his family might have a conflict
of interest, risk of influence, or bias l-Ie has a lot of power as a State Senator and
that is why l greatly fear him but yet 1 am forced to fight to prove my innocence
even if l may risk imprisonment or risk my life to clear my name going up against
the people that may or may not be responsible for setting me up. Even if the
Bergers are not behind any of it, there are contradictions in the whole criminal
case evidence. There is evidence that it was download for eleven (l l) months
while in the custody of the law enforcement Even if the year was wrong, and it
had only downloaded for 8 days, let’s say for argument’s sake that it was 2012
instead of 201 3, then it was only downloading for eight (8) days and then a month
went by without activity before being raided by law enforcement which would
have meant that maybe l did stop the Trojan Horse after discovering it but it done
its damage and set me up. Either way, whether the year was correct or incorrect, it
is a contradiction and does not prove that l had knowingly possessed child
pornography Dr. Hersh did rule out Dr. Graney’s earlier diagnosis of “pedophilic
disorder” due to his belief that is had only downloaded for what l recall may be 8

days 1 think. 1 gave a false confession and that can be proven by cross referencing

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and cross examining the evidence from the Government. A.U.S.A. Ramaswamy
does not want this on public record, he doesn’t want any of this information to be
accepted by the Court because he is afraid of being sued for hurting me, causing
mental distress and malicious prosecution lie is afraid of possibly losing his job
by Donald Trump or non-corrupt DOJ employee replacements over convicting and
bullying an innocent man. He discriminated against my Autism a neurological
disability and used it against me to try to throw me in prison during the Supervised
Release Revocation hearing on June 30, 2015. He used it to make me appear
dangerous to the community even though Kristy L. Burton approved of my request
to travel out of state for Snow Camp, North Carolina in May, 2015, the month
after she pushed for a “Petirionfor Warram or Summonsfor Ojjfender Under
Supervz`sion” stating that l was a danger to the community If Dr. Keith Hersh had
evaluated me knowing all the facts, the fraud on the Court by the Assistant U.S.
Attorney, the destruction or concealment (referencing my FOlA lawsuit) of a
portion of the discovery material that 1 learned from my Freedom of lnforrnation
Act (“FOIA”) lawsuit. So he basically destroyed or concealed the SBI report and
the confession audio because that would have been used in my actual innocence
elements as for my claims in my § 2255 case. Ramaswamy does not want me to
prove my innocence and is ignoring my mental, physical, and neurological health
conditions unless they favor my guilt. When it favors my innocence, all of the
sudden it is like he is blind to it, deaf to it, speak nothing of it. Just deny, deny,

deny, and tell the Court that l am harassing the very Government that lies about

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me, placed on me Probation via Supervised Release, forcing me to fill out Sex
Offender forms and stuff, be forced under Sex Offender restrictions including
mandatory polygraph tests which are as reliable as a coin toss, getting repeated
visits from state police, and yet somehow l arn harassing the Government for
trying to prove my innocence????? Gee Whiz, l cannot prove my innocence in the
great United States of America. 1 thought Courts operated on the scales of Justice,
and that lady Justice is blind. That the facts matter more than fiction. 1 do believe
this Court will make the right decision and l still have a directory somewhere with
hundreds of phone numbers of White House offices which l am willing to leave
voicemails and mail them evidence asking for a Pardon of lnnocence without
going through the corrupt Department of Justice that wrongfully has targeted the
President of the United States in my opinion under FBI Agent Robert Mueller. 1
refuse to go through the Pardon Attorney who repeatedly tells me that 1 don’t
qualify for a Pardon, even though 1 send Declarations or Affidavits stating that 1
am innocent of possessing child porn and was willing to prove it. The Justice
Department won’t help me prove my innocence, no Attorney seems to want to
prove my innocence, and even Emily Gladden gave up on me right after John
Scott Coalter had spoken with her. That is why 1 represented myself and filed
motions pro se for this § 2255. 1 had attempted to text message her last year asking
her about Coalter in regards to me hearing about him threatening to destroy the
discovery evidence but l feel like l didn’t seem to get a solid and straight answer. l

felt like she had abandoned my quest to prove my innocence earlier in 2017

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without even getting the entire discovery evidence, this is ridiculous 1 just decided
to file the § 2255 Motion and let the Court know what is really going on. There
seems to be backstabbing traitors, nobody wants to help me unless l pay them
piles of money to represent me or conduct a private investigation into all of my
claims lt seems to be all about money, and poor people are convicted for crimes
they didn’t commit because they cannot afford to pay-$300,000 for a lawyer to
fight the Government to seek acquittal Ramaswamy complains about the high
number of pages for my 225 5, however you have to have a lot of factual evidence
just to even persuade a Judge to get an evidentiary hearing instead of
automatically denying a filed 2255, and fighting to even get the evidentiary
hearing that could be just the beginning of a long drawn out legal battle, if the
2255 is even set for an evidentiary hearing instead of simply being denied. l am
not harassing over the number of pages l had filed. Evidence is necessary to prove
innocence. l have to show a high probability that my claim is able to overcome the
procedural hurdles set out in the 2255 statute and the actual innocence exception
to the one (l) year deadline as set by the U.S. Supreme Court case law, before l
believe would even consider an evidentiary hearing. lf only Dr. Hersh had known
of everything l had raised in my § 2255 Motion and other post-2255 filings, had he
reviewed and scrutinized the details of the entire discovery evidence and looked at
the confession statements that didn’t make sense, had he asked the Government
why there are no blurred thumbnails and no evidence at all as to whether each

such file was actually confirmed to being of child pornography by statute. My

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family heard and told me about an article that Google may have a database to
block child pornography images from their Google lmages Search. So a private
Search Engine corporation can identify and block any confirmed child
pornography images, but the State Bureau of lnvestigation cannot and will not
confirm every such “image of interest” and “video of interest” to being of actual
child pornography as defined by both federal and state statutes Yet l am to be held
accountable for every alleged image and video. The files listed in Detective Robert
Bridge’s Search Warrant Affidavit can be used against me yet none of them were
ever confirmed to have been found on my computer or any hard drive. lt would be
prima facie evidence to have the SBl Agent Rodnev V. White conduct a forensic
file search with the software tool nCase and confirm that the files that Detective
Bridge claimed were being downloaded from my lP Address 24.148.156.211 were
actually located on the very computer and hard drives that were seized. Yet
nobody from the Government seems to want to confirm whether such files were
even found on my computer. My confession statements seem to not match the
forensic report, even if a tiny portion may match the report somehow it isn’t
evidence of familiarity as l was exposed to yucky child pornography descriptions
from the very Search Warrant that l read on the day of the police raid. That to me
sounds like fraud lt is not that the Government’s evidence is inadequate to charge
me or convict me, but that the Government has pushed for a case based on no
confirmations of actual child pornography for each and every suspected file of

interest The download dates say it stopped at July 28, 2013, which is eleven

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months after the seizure of my computer equipment on August 28, 2012. Even if
the year was a typo, it would only have downloaded for 8 days and not until the
police actually raid the place since it would have stopped exactly one month prior
to the police raid with no new eMule activity That to me definitely sounds like a
computer hack and frame up that lasted only for 8 days which is the reason why
Dr. Hersh did not affirm the diagnosis of ‘"Pedophilic Disorder” so he ruled it out
which l agree with. Dr. Hersh thought it was only 8 days of eMule activity
However if the year is correct then somebody at the SBl and/or somebody at the
Town of Mayodan through its Police Department downloaded the files of interest
aka the suspected alleged child pornography to my seized computer. lt is
ridiculous and shows the ignorance of Dr. Hersh if he even had looked through the
entire discovery evidence, l don’t know. Dr. Dawn Graney (“Dr. Graney”)
admitted to looking through the discovery evidence in her
psychiatric/psychological evaluation report, yet she labeled me with “pedophilic
disorder” based on misinterpretation of my Autism, taking my statements the
wrong way, not understanding my Autism, and did not scrutinized any of the
forensic evidence and did not scrutinize my false confession Both of my mental
evaluations l am disappointed with because both of them didn’t knowledge any
contradictions and didn’t suspect that my confession was false. Dr. Graney
mistook my statement that l said l had been into adult stuff for 6 years, and she
mistook it as l, Brian Hill admitting to child pornography for six years lf the six

years she imagined l thought l was referring to was from when l was raided by

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Mayodan Police, then l would have falsely admitted to downloading child porn
since l Was a teenage boy at 16 years old. She mistook my statements exactly as
Dennis Debbaudt had warned law enforcement about in regards to “false
confessions and misleading statements”. Dr. Graney was misled by my statement
in regards to the six years statement l also did tell the Detectives prior to saying
“12 to 13 year olds” that l am into women, l recall one of the Detectives telling me
“you’re lying” then l changed my answer to that age bracket. Thcn of course
another contradictory confession statement l had made in answer to their question
of “Q. Are you attracted to adults or just children?” then my contradictory answer
is “A. Both. But l prefer kids.” Oh wait a minute, l told the Detectives 12 to 13
year olds according to their typed up statements from the interview/interrogation,
yet l say that l am attracted to both women and kids but prefer kids That
statement itself is contradictory and cannot be credible because l cannot be
attracted to 12 to 13 years old and then switch my statements to women but l
prefer kids Contradictions, Contradictions. My confession statements when
scrutinized by an independent mental health expert would immediately have
reservations about my guilt and suspect false confession. Heck the expert wouldn’t
have to take my word for it when l tell a medical expert that l gave a false
confession when it can be confirmed right from the U.S. Attorney’s own discovery
evidence material A confession should be straightforward, straight shooting, yet
my confession is all over the map like a crazy person. l believe if 1 was delusional,

l was delusional about my guilt and delusional about my false addiction to child

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porn. l do have a problem, a problem wiLglving false confessions and misleading
statements l believe that l should get another mental examination that the Court
needs to order, then the medical expert and mental health expert needs to read over
every page of the discovery, listen to the audio recording of my confession at
Mayodan Police Department take my suggestions when l point to the pages and
paragraphs of the contradictory statements l made during the interrogation which
matches Dennis Debbaudt’s claims regarding false confessions and misleading
statements He was right about his claims, and l believe the Court should compel
him to make a written statement or speak orally at a hearing because he was
absolutely right about those with Autism giving misleading statements to law
enforcement Dr. Graney mistook my statements as guilt Dr. Keith Hersh mistook
my statements regarding my belief that I was set up. There was too much evidence
that l wasn’t even aware of prior to my guilty plea. Had l been allowed to review
over all discovery evidence material, ask to listen to the audio recording of the
confession multiple times with Mr. Placke, instead it was just one time l had
listened to the audio, and direct him and me to cross examine the evidence, he
would have been baffled about my entire confession Dr. Hersh would have been
baffled however had l known what was in the entire discovery then l never would
have plead guilty even if l was forced to fight the case Pro Se and represent myself
at the jury trial. All l would have had to do was bring up everything l am speaking
of in this Declaration and in my post-2255 filings and 2255 brief, the Jury would

have had reservations They would have asked if any of the files were of actual

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child porn. lf the Government refuses to produce any evidence of this then the
Jury would feel that there is no guilt at all. They cannot just make future claims
that they dug up evidence during or after a trial, they have to dig up the evidence
before they file a charge. Many years go by, and still the Government will not
confirm whether every “image of interest” and “video of interest” was of actual
child porn. The download dates Government witnesses such as Detective Robert
Bridge, Detective Christopher Todd Brim, Agent Rodney V. White, and any
others were never present at any of the hearings prior to my guilty plea at least l
don’t think l saw their faces there. They didn’t even show up at the suppression
hearing Where were the Government witnesses that l had every Constitutional
right to cross examine in Court? Where was Agent Rodney White at the
suppression hearing? Nobody. On the day of the scheduled Jury trial on June 10,
2014, l didn’t recall seeing any of the Government’s witnesses there either. Maybe
they were hiding in the back row, maybe they were out to lunch, l don’t know. l
feel that the whole entire criminal case is either a fraud or the prosecution was
very badly done which was why I was compelled by Mr. Placke not to fight this
but to accept a prison sentence of time served which may be rare for child
pornography cases My family told me that Susan Basko thought that it is rare to
get time served for a child pornography case. Ernily Gladden thought the
Government had a weak case but was talked out of it by Mr. Coalter and when
grandpa or grandma told me that Coalter said the discovery evidence may be

destroyed, l got very angry and left a voicemail at the Office of Government

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lnforrnation Services (“OGIS”) of the National Archives very angry about what
Coalter may try to do and said with angry voice that l am going to sue the
Government, and that is in regards to the beginning of the FOlA lawsuit in 2017. l
am sick and tired of the evidence being kept from me. Even the Local Rules of the
Court in regards to criminal cases says that l can review the evidence and inspect
the evidence, even retained expert witnesses for my defense. Now Coalter sounded
like, at least to me from what my grandma or grandpa told me, that Coalter seems
to hint around that he may destroy the discovery evidence after saying the year
before that he couldn’t represent me for the 2255 because he would be in conflict
of interest That isn’t right

. Dr. Keith Hersh had misinterpreted my statements that caused the delusional
disorder because l had dealt with an ongoing issue at the time in 2014, the issue l
felt wasn’t being resolved after my guilty plea, which had started before the day of
the jury trial when l had mailed attempted pleadings (Documents #80-1, #80~2,
#80-3, #80-4, #80-5, #80-7) they were never filed in June, 2014. Then after l had
falsely taken the guilty plea, l had received a printout of the docket sheet from Mr.
Placke, and l had noticed that the pleadings that l had attempted to file after the
Status Conference on June 4, 2014, and none of them made the docket sheet That
was why l had told Dr. Hersh during the evaluation that the Clerk’s office was
working against me, due to the issue that the Clerk was not filing everything l had
expected to file as pleadings before the Jury Trial which of course led to me

falsely pleading guilty because l had ineffective counsel, deteriorating health,

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apparently my pro se motions had never made the docket prior to the lury Trial,
and l had never been able to review over all discovery evidence material even
before the sentencing So one of the things 1 thought when l checked the docket
sheet was, where were all of my pro se pleadings from Orange County Detention
Center such as: (1) Document #80-1 the Court can consider that as a motion for a
new suppression hearing if reviewed liberally as is the standard for pro se filings;
(2) Document #80-2 “Motion to Suppress Evidence”, “Motion to Suppress
Confession”, “Motion for Private Counsel”, and “l\/lotion for Discovery”; (3)
Document #80-3 “Motion to Suppress Evidence”, “Motion of Evidence”, “Motion
to Suppress Confession”, and “lnfo for Judge”; (4) Document #80-4 “Motion of
Discovery”, “Motion of Evidence”, “Motion to Declare”, “Notes for Case
Examination”, “Motion of Exparte”; Document #80-5 “Motion of Exparte”,
“Motion to Dismiss”; (5) and Document #80-7 “Motion to Declare”. All of those
motions, even if they were not backed by authorities in statutes or rules, show that
Counsel was ineffective that l had to file all of these to try to halt the Jury Trial
until l was able to get more answers, get new legal counsel somehow, and prove
my innocence Those motions should have led to a motion hearing or a decision
should have been made prior to the lury Trial but those motions were never
docketed So I had called my family from the jail telling them that l believed it
was a cover up by the Clerk of the Court Of course it would sound delusional
because l don’t have the facts of it yet and l don’t know why those pleadings never

made the docket sheet and why they were never filed lt would have been the Jail

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blocking or fettering with those Maybe the Post Office lost all of them by
accident However those pleadings still should have been filed and the Judge
should have made a decision and continued the Jury Trial at a later date after a
decision was to be made on them. l thought from how concerned that Mr. Placke
looked after l had told him that my attempted filings were missing from the
Docket, l thought that he was looking into this and investigating, then l receive a
letter from Mr. Placke (I don ‘t know iff still have that letter or lfz't was seized by a
jail guard or if family misplaced it, or 2f1 misplaced it, 1 can try to look for z't) that
his explanation was that any documents that the Clerk doesn’t consider to be
actual pleadings will forward it to the presiding Judge in the case and that is likely
why l didn’t see those on the Docket, then explained to me that l am going to go
through the psycho~scxual evaluation and that the U.S. Probation Oftice will draft
a Pre-Sentence Report, and Placke told me to be honest with the evaluator. Of
course I was honest by trying to explain why l am innocent even though ignorant
in what was in the discovery evidence Still l thought that it was a lame response
That instead Placke should have called up the Clerk, and if Judge Osteen had
received my pleadings and they never made Docket, then it is ex parte and is
against the Judicial Rules of Conduct or whatever other rules are set for me to
engage in ex parte communications, therefore the Judge should have forwarded a
copy of those attempted pleadings to the U.S. Attorney or forward them back to
the Clerk since the documents have the word “Motion” on them, my case name,

and if any of my attempted pro se pleadings contain a case number then it doesn’t

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matter if they do not look like normal pleadings since I was in jail with highly
limited resources, the Judge should have clearly forwarded them back to the Clerk
to comply with the ex parte communication rules and then the Clerk should have
filed them, or the Judge’s chamber Clerk should have filed them to comply with
the ex parte communications rules. So Placke seem to have thought it was normal
for my pleadings to be forwarded to the Judge even though communications by
only one party with the Judge is ex parte Ex parte meaning that the other party
never got to review over what was sent to and read by the Judge, will not be
considered in the case and is in violation of the rules. So Mr. Placke failed to
investigate my missing pleadings and he acted as though sending ex parte
communications when mailing documents to the Clerk is somehow routine, like it
is normal for the Clerk to not file pleadings and forward ex parte communications
to the Judge instead of filing them and the Judge reviews over them while the
Government is served with a copy through Notice of Electronic Filing (“NEF”).
The envelopes were also directed to the Clerk of the Court and not directed to only
the Judge. So l had made statements to Dr. Hersh regarding the Clerk covering up
or not filing my pleadings that were mailed prior to my false guilty plea, and he
also used that for his basis for the diagnosis of “delusional disorder: persecutory
type”. For living in jail for months at the time, having very limited resources,
dealing with shakedowns and seizure of stuff from my jail cell, and yet l am
somehow supposed to furnish proof for Dr. Hersh and show him my attempted

pleadings that were dated as all being prior to the Jury Trial and yet none of them

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were ever filed on the Docket Sheet as a pleading He never asked to see such
attempted pleadings He never asked to see any evidence that would make him
believe in my own claims to him. All he did was take my word for it, but heyl
Who takes the word of a man that plead guilty to possession of child pornography?
lneffective Assistance of Counsel and failure to investigate my suspicions is
exactly why l was diagnosed with delusional disorder. Not only did he fail to show
me the entire discovery evidence, but he failed to investigate why my pleadings
had never made Docket. lf what he had described in his letter in regards to the
Clerk forwarding my documents that Were not considered actual pleadings to “the
presiding Judge” is that a sign that maybe he did investigate it, then he still should
have informed the Clerk of the Judge’s office that those were pleadings and should
be filed by the Clerk and should not be ex parte communications with the Judge
However Mr. Placke did nothing to ensure that those missing pleadings ever made
the Docket sheet that l was concerned about. Mr. Placke is at fault for why I was
diagnosed with delusional disorder. All l ever wanted to know was the truth. That
was why l was writing the FBI while at FCl-l Butner, NC during the mental
examination by Dr. Graney, writing the Department of Justice, and trying to write
different Government officials during my criminal case in 2014. l still continued
my letter Writing campaign because l am sick and tired of being wrongfully
convicted for a crime I did not do and nothing seems to be done about it. My
beliefs do change in light of new evidence The more l investigate the more

crimes or ethics issues l seem to discover. The U.S. Attorney Assistant by refusing

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to give me all discovery material in response to my FOIA request violates Rule 3.8
of the N.C. State Bar Ethics Rules in regards to ”Special Responsibilities of a
Prosecutor” that is part of the Rules of Professional Conduct. Any evidence that is
proof of actual innocence, a copy of that must be disclosed to the criminal
defendant If the records were concealed or destroyed and they convince the
Executive Office for U.S. Attorneys that the amount of records was all that there
was from the Government’s criminal case discovery evidence but the other things
seem to have disappeared, then I feel that it violates Title 18 U.S.C. § 1519. Yetl
am somehow delusional because l am being blocked from proving my innocence
by all Government agencies I was blocked by the Town of Mayodan from getting
access to my own confession that was recorded in an Audio CD disc. lts town
lawyer was none other than Phil Berger Senior so he could have been behind the
blockade of my request for my own confession in the audio recording format l
was blocked by the State Bureau of lnvestigation Counsel Angel Gray from
getting access to the SBI report concerning myself even though it was to be used
against me at a public jury trial. l was blocked by the U.S. Attorney Office in my
FOlA request from getting access to ALL of the discovery material l get some of
the discovery material but the rest were considered “0 records withheld in full”.
How can I be delusional when all l have ever tried to do since the beginning of my
criminal case was prove my innocence yet I am being hit with one brick wall after
another? Yet l am being blocked from proving my innocence No lawyer wants to

do anything unless l pay piles of money l do not have l have been deprived of

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justice and equal access and opportunity to the Courts. The motion for pre-filing
injunction seems to further deprive me of justice and equal access and opportunity
to the courts, because l cannot afford an Attorney that charges hundreds of
thousands of dollars to fight for me To say that l am delusional over being
persecuted is absolutely GARBAGE. lt is persecution when l am
unconstitutionally deprived of effective counsel, deprived of cross examination,
deprived of being allowed to use the internet to voice my concerns under the
Freedom of Speech clause of the U.S. Constitution, being deprived of my Brady
and Giglio rights by my own defense lawyer, sold out to the U.S. Attorney by plea
agreement, deprived of my Americans with Disabilities Act (“ADA”) disability
rights while in the County Jails, being deprived of proper medical care as it wasn’t
being done the way my Doctor would prescribe and direct me to do, deprived of
my right to confrontation clause and cross examination, and I was deprived of my
right to remain silent by being forced to plead guilty to a crime that l did not do.
All of my rights were stripped away from me by own lawyer. How can l be
delusional for all that? l just want to find out all of the facts and prove my
innocence ls any of that delusional?

. Dr. Hersh had never asked to see all of the documented evidence from me and my
family for my claims that may have sounded farfetched as l would have proven
my claims to him and asked my family to email, mail, or fax any of the proof l or
my family has to him. He could contact them to ask them for the proof. However it

appears to rne that he didn’t conduct any real investigation or review of records in

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regards to my claims of the Clerk not filing my attempted pleadings and not of the
false confession Not anything about the Bergers ties to my criminal case Not
anything about the bias concerns or conflict of interest risks. Dr. Hersh failed or
refused to even try to verify my claims and ask my family where the copy was in
regards to the attempted pro se pleadings that l was referring to. Dr. Hersh never
did anything to prove that my claims may have been founded enough to not get
slapped with the diagnosis of “delusional disorder: persecutory type”. He never
thought to examine my old USWGO Alternative News articles online somewhere
that mentions about a corrupt State Senator or about the Town of Mayodan being
corrupt, me giving both facts and opinions about the whole ordeal that happened in
my dealings with the Town of Mayodan. l feel that he should have at least asked
me for the proof of my claims or at least enough proof, then ask further questions,
before deciding to diagnose me with delusional disorder. lt hurts my case, it hurts
my claims of innocence No credible FBI Agent or the Court will consider my
claims to be true if they just simply think that l am delusional and that is it. My
family doesn’t think l arn delusional, so maybe my whole family and Susan Basko
should be diagnosed with delusional disorder, am l wrong? This is ridiculous and
the Court needs to take notice in whether that original diagnosis was appropriate
or not and whether the circumstances and ineffective counsel had caused me to
give statements that were misleading him into believing that l was just delusional.
l think the Court needs to order a new evaluation otherwise all of these issues that

are piling up in court record will forever be unresolved l will be forced to find a

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way to meet with U.S. President Donald John Trump and beg him for a pardon of
innocence and show him all of the proof regarding my innocence l had already
mailed Roger Stone one of Trump’s colleagues, WikiLeaks, Infowars, The Daily
Caller, Breitbart, American Free Press, Associated Press, and others hoping that
somebody will get this information written on news articles and somehow it gets
to U.S. President Trump in order to secure releasing my conviction and filing a
pardon in my case on the ground that l am actually innocent and was deprived of
due process, deprived of justice, and deprived of equal access to the Courts due to
me being too poor to afford a good lawyer. l have had to mail the public court
documents to WikiLeaks out of fear that the U.S. Attorney will seal all of my
fillings and then l am stuck as chuck as a false sex offender until l lose my will to
live or die out of exhaustion and increased anxiety till l have a heart attack or
some other kind of stress fueled health problem that could become fatal. My age
of the 20s is being taken up with this criminal case anxiety l am sick and tired of
seeing my young life taken away by this case l am getting worse with my health. l
am having worse OCD hand washing routines where it is taking anywhere in the
usage of time between almost an hour to 3 hours after each use of the toilet. My
shower and hand washing routine after each use of the shower can be from 3 hours
to 4 hours of water usage l am getting more and more frustrated and my
Counselor isn"t even making the issues go away. l feel worse when my Counselor
thinks tha “you may not get what you want” but what about innocent people

receiving justice? What about people that are actually innocent? What happened to

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the right to prove your innocence when accused of a crime? ls all of that now a
fairytale and things l see in Hollywood movies or TV shows like “Law and
()rder”? l hope that the Court is not a fairytale now in regards to justice and due
process. Even my current Probation Officer Jason Mcl\/lurray told me that that he
thought my consistent diarrhea is getting worse due to stress. l am having to take
medication for it but it may not work so l only take it when l think it is needed
during really bad diarrhea attacks Since June 2016, l have had chronic diarrhea
and have been consuming hundreds of dollars of EBT purchased probiotic health
drinks and they don’t seem to be ending my diarrhea problems. l had got multiple
doctors’ appointments from Carilion in the past, done a ton of tests, and they still
cannot find what the problem is that I have been having. My health is getting
worse and l am losing hope everyday which will sink me into depression and fear.
l cannot think like that which can put me into a very negative state of constant
stress, anxiety, and fear of the Government and police I should be allowed to
prove my innocence and see if l can be found once and for all if the Court does or
doesn’t think l have provided enough facts of innocence Let me prove my
innocence l hope the Court will let me. The next mental evaluation/examination
that l am requesting from the Court will end the issues in regards to the
Government’s disagreement with me exhibiting delayed echolalia, in regards to
the Govemment’s disagreement or arguments against me stating under Oath that l
do not recognize the diagnosis of “delusional disorder”, and will resolve any other

issues caused by my Autism that the Court may not fully understand in regards to

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how I say things on court record or even my filing tactics and strategies Thank

You! That is all l wish to say in my testimony under Oath.

l declare under penalty of perjury that the foregoing is true and correct.

 

Executed on

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Respectfully submitted,

Brian/rf fill

Signed Signed

Brian D. Hill (Pro Se)

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UYS.W.G.O.

 

 

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